

People v Hamilton (2023 NY Slip Op 00746)





People v Hamilton


2023 NY Slip Op 00746


Decided on February 09, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 09, 2023

Before: Webber, J.P., Oing, González, Scarpulla, Rodriguez, JJ. 


Ind. No. 2684/14, 682/16 Appeal No. 17286 Case No. 2020-01840 

[*1]The People of the State of New York, Respondent,
vRobin Hamilton, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Elizabeth M. Vasily of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Emily M. Gault of counsel), for respondent.



Judgment of resentence, Supreme Court, New York County (Curtis J. Farber, J.), rendered February 13, 2020, resentencing defendant, as a persistent violent felony offender, to an aggregate term of 38 years to life, unanimously modified, as a matter of discretion in the interest of justice, to the extent of directing that all sentences be served concurrently, resulting in a new aggregate term of 22 years to life, and otherwise
affirmed.
We find the sentence excessive to the extent indicated. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 9, 2023








